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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                       November 08, 2016
                            UNITED STATES DISTRICT COURT
                                                                                        David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

RUTH GARZA, et al,                                §
                                                  §
              Plaintiffs,                         §
VS.                                               § CIVIL ACTION NO. 7:16-CV-548
                                                  §
GEOVERA SPECIALTY INSURANCE                       §
COMPANY,                                          §
                                                  §
              Defendant.                          §

                                             ORDER

         The Court now considers the motion to remand,1 filed by Ruth Garza and Dagoberto

Garza (“Plaintiffs”). Geovera Specialty Insurance Company (“Defendant”) filed a response in

opposition. After duly considering the motion and relevant authorities, the Court GRANTS the

motion to remand.

         I.        Background

         On May 5, 2016, Plaintiffs filed suit in state court against Defendant, alleging insurance-

related causes of action from property damage resulting from a hailstorm.2 Defendant was served

with a copy of the original petition on or about August 15, 2016, 3 and filed its answer in state

court on September 1, 2016.4 Defendant thereafter removed the case to this Court on September

13, 2016, asserting subject matter jurisdiction pursuant to 28 U.S.C. §§ 1441 and 1446.5




1
  Dkt. No. 7.
2
  Dkt. No. 1-3.
3
  Dkt. No. 1, at p. 1.
4
  Dkt. No. 1-5.
5
  Dkt. No. 1.

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        On October 14, 2016, Plaintiffs filed the instant motion to remand, asserting that the

requirements of diversity jurisdiction were not satisfied due to an insufficient amount in

controversy.6

        II.      Legal Standard

        After removal, a plaintiff may move for remand and, if it appears that the district court

lacks subject matter jurisdiction, “the case shall be remanded.”7 Removal statutes are construed

“strictly against removal and for remand.”8 Once a motion to remand has been filed, the burden

is on the removing party to establish that federal jurisdiction exists.9 In cases where remand is

requested on the ground that less than the jurisdictional amount is controverted, “the removing

defendant must prove by a preponderance of the evidence that the amount in controversy exceeds

$75,000.”10 In cases involving the applicability of an insurance policy to a particular occurrence,

the amount in controversy is determined by the value of the underlying claim, and not “the face

amount of the policy [coverage].”11

        The sum claimed by the plaintiff is his original petition will often control.12 However,

“[t]he face of the plaintiff’s pleading will not control if made in bad faith.”13 A pleading is made

in bad faith when the state procedural rules prohibit a plaintiff from pleading a specific amount

in controversy, but the plaintiff does so anyway, in an amount sure to evade federal




6
  Id. at p. 2.
7
  28 U.S.C. § 1447(c).
8
  Eastus v. Blue Bell Creameries, L.P., 97 F.3d 100, 106 (5th Cir. 1996) (citing Shamrock Oil & Gas Corp. v.
Sheets, 313 U.S. 100, 108–09 (1941)).
9
  De Aguilar v. Boeing Co., 47 F.3d 1404, 1408 (5th Cir. 1995).
10
   Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880, 882–83 (5th Cir. 2000) (citations omitted).
11
   Hartford Ins. Grp. v. Lou-Con Inc., 293 F.3d 908, 911 (5th Cir. 2002).
12
   Id. (quoting St. Paul Mercury Indemnity Co. v. Red Cab Co., 303 U.S. 283, 288 (1938).
13
   Id.

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jurisdiction.14 Texas Rule of Civil Procedure 47 currently prohibits plaintiffs from pleading a

specific amount.15

         III.     Discussion

         The amount in controversy suggested by Plaintiffs in their original state court petition is

not controlling because it was made in bad faith—simply to avoid federal jurisdiction. Texas

Rule of Civil Procedure 47 prohibits a plaintiff from declaring a specific amount in controversy.

Thus, Plaintiffs’ statement that “PLAINTIFFS seek monetary relief of $75,000.00 or less” 16 is

unavailing, and does not control the Court’s analysis. However, the fact that the amount alleged

by Plaintiffs is disregarded does not establish that the jurisdictional requirement has been met.

Rather, the Court must look to Defendant to establish the amount.

         Despite its efforts, Defendant has failed to prove by a preponderance of the evidence that

the amount in controversy exceeds $75,000. Defendant points out that the insurance policy in

question provides more than $200,000 in coverage.17 Beyond this, Defendant merely identifies

language in Plaintiffs’ petition suggesting expansive recovery: “past, present, and future costs of

repair,” “investigative and engineering fees,” “mitigation [costs],” “reliance,” “restitution,”

“costs of alternative housing while repairs are occurring,” “consequential damages,” “attorney’s

fees,” “pre-judgment and post-judgment interest,” “plus 18% per annum penalty.”18

Additionally, while Plaintiffs’ use of the terms “knowingly” and “intentionally” suggests that

they are seeking treble damages, 19 Defendant inaccurately quotes Plaintiffs’ original petition in

an attempt to bolster its claim that the amount in controversy is satisfied. Defendant quotes



14
   De Aguilar, 47 F.3d at 1410.
15
   Tex. R. Civ. P. 47.
16
   Dkt. No. 1-3, at p. 3.
17
   Dkt. No. 10, at ¶ 19.
18
   Dkt. No. 1-3, at pp 12–13.
19
   Id. at p. 6.

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Plaintiffs as seeking treble damages,20 even though they are not mentioned anywhere in the

original complaint.

           Ultimately, the Court does not consider the policy limits for purposes of determining the

amount in controversy in this instance.21 Moreover, Defendant has failed to submit a single piece

of evidence (e.g., a demand letter) suggesting the actual amount in controversy. Though

Plaintiffs’ petition suggests expansive recovery, nothing in the petition gives the Court a basis

for estimating actual or other damages. For example, though it is clear Plaintiffs are seeking

treble damages, it is not clear what is to be trebled. In short, Defendant has not carried its heavy

burden of establishing this Court’s jurisdiction because it failed to submit any cognizable

evidence providing the Court with a baseline for estimating the amount in controversy.

           IV.      Holding

           Plaintiffs’ remand motion is GRANTED.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 8th day of November, 2016.


                                                            ___________________________________
                                                            Micaela Alvarez
                                                            United States District Judge




20
     Dkt. No. 10, at ¶ 19.
21
     Hartford Ins. Grp. v. Lou-Con Inc., 293 F.3d 908, 911 (5th Cir. 2002).

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